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AO 106A (08. 18) Application fora Warrant by Telephone or Other Reliable Electronic Means
UNITED STATES DISTRICT COURT

for the

Middle District of Pennsylvania PEp

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Samsung Galaxy A02s, bearing IMEI #
357014535818918,

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APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment "A"

located in the Middle District of Pennsylvania , there is now concealed (identify the
person or describe the property to be seized):

See Attachment "B"

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
a evidence of a crime;
& contraband, fruits of crime, or other items illegally possessed;
a property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
Title 18 U.S.C. §924(c) Possession of Firearm in Furtherance of Drug Trafficking
Title 21 U.S.C. §841(a)(1) Possession with Intent to Distribute a Controlled Substance

The application is based on these facts:
|, Deputy Christopher Warden, being first duly sworn, hereby depose and state as follows:

@% Continued on the attached sheet.
O Delayed notice of days (give exact ending date if more than 30 days ) is requested under

18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet. (

Applicant's signature

Deputy Christopher Warden

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone (specify reliable electronic means).
Date: JULY 24, 2024 a - z ; A Sb
Judge ‘s signature
City and state: Harrisburg, PA Daryl F. Bloom, U.S. Magistrate Judge

Printed name and title

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CONTINUATION OF AFFIDAVIT IN SUPPORT
OF SEARCH WARRANT

INTRODUCTION AND AGENT BACKGROUND

L, I make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search warrant authorizing the
examination of property—an electronic device—which is currently in law
enforcement possession, and the extraction from that property of electronically
stored information described in Attachment B.

Z. I am a Deputy United States Marshal (DUSM) with the United States
Marshals Service (USMS) in the Middle District of Pennsylvania (M/PA). I have
been so employed since June 2022. In November 2022, I graduated from the
United States Marshals Service Basic Deputy Training Program at the Federal Law
Enforcement Training Center (FLETC) in Glynco, GA. This training academy at
FLETC included courses pertaining to the seizure, preservation, and search of
digital evidence. Prior to being a DUSM, I was employed as a Deputy Sheriff in
the Commonwealth of Pennsylvania for approximately six years. From November
2017 through June 2022, I was duly sworn with the United States Marshals Service
Fugitive Task Force in the Middle District of Pennsylvania—Williamsport. I have
investigated and assisted in hundreds of fugitive investigations involving different
violations of Federal and Pennsylvania law. At present, my responsibilities at the

USMS include conducting criminal investigations and investigations to locate and

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apprehend fugitives from justice of federal and state criminal violations. As of June
2023, I am the District Sex Offender Coordinator (DSOC) for the USMS M/PA
and am responsible for conducting federal investigations of individuals who have
violated the Adam Walsh Act by failing to properly register under the Sex
Offender Registration and Notification Act (SORNA).

3. The facts and circumstances of this investigation have been
summarized for the limited purpose of establishing probable cause for the warrant
sought. No attempt has been made to set forth the complete factual history of this
investigation or all its details.

IDENTIFICATION OF THE DEVICE TO BE EXAMINED

4. The property to be searched is a Samsung Galaxy A02s, bearing IMEI
# 357014535818918 hereinafter the “Device.” The contents of the Device were
previously extracted pursuant to a search warrant and the data from the Device is

stored on a USB drive currently located at The United States Marshals Service,

1501 N. 6" Street, Room 204, Harrisburg, PA, 17102.

5. The Device is currently in the lawful possession of the United States
Marshals Service (USMS). It came into the USMS’s possession in the following
way. The Pennsylvania State Police (PSP) seized Eric HAGGINS’ cellphone
incident to arrest. This cellphone remained in PSP evidence. The USMS applied

for a search warrant to search HAGGINS’ cellphone for evidence of 18 U.S.C.

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2250(a) Failure to Register, Title 18 U.S.C. § 922(a) Unlawful Transportation of
Firearms, and Title 18 U.S.C. § 922(g) Possession of a Firearm by Prohibited
Person. This search warrant was approved by the Honorable United States
Magistrate Judge Daryl F. Bloom, and it is docketed at 1:24-MC-0089. The data
from the phone was extracted and a copy of the data is now stored on a USB drive.
During the lawful search of the data extracted from HAGGINS’ phone bearing
IMEI # 357014535818918, evidence was observed that HAGGINS has committed
additional violations of federal law. Specifically, Title 18 U.S.C. §924(c)
Possession of Firearm in Furtherance of Drug Trafficking and Title 21 U.S.C.
§841(a)(1) Possession with Intent to Distribute a Controlled Substance.

6. The applied-for warrant would authorize the forensic examination of
the Device for the purpose of identifying and seizing electronically stored data
particularly described in Attachment B.

7. As set forth below, there is probable cause to believe that the Device
contains evidence and instrumentalities of violations of Title 18 U.S.C. §924(c)
Possession of Firearm in Furtherance of Drug Trafficking and Title 21 U.S.C.
§841(a)(1) Possession with Intent to Distribute a Controlled Substance.

PROBABLE CAUSE

8. On November 29, 2023, the United States Marshals Service—Middle

District of Pennsylvania received a Jail Facility Tip from the York County

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Sheriff's Office Central Booking Center regarding Eric Clarence HAGGINS Jr.
The tip indicated that HAGGINS is a registered sex offender in Maryland and that
he had recently been arrested in York County, Pennsylvania. I reviewed the
information and initiated an assessment.

9. I learned the following based on my review of Maryland Court
Documents and records, HAGGINS’ Criminal History, documents and records
associated with HAGGINS’ Maryland Sex Offender Registration, HAGGINS’
employment records, as well as police reports.

10. On or about April 19, 2016, HAGGINS plead guilty by way of an
Alford Plea in the Baltimore City Circuit Court of Baltimore County, Maryland to
the offense of Sexual Abuse of a Minor, in violation of the Maryland criminal
annotated code. On or about April 19, 2016, he was sentenced to 25 years of
incarceration, with all but 7 years of this sentence to be suspended, followed by a
5-year period of probation supervision. As a result of this conviction, HAGGINS is
required to register as a Sex Offender for a period of his lifetime.

11. HAGGINS completed, signed, and acknowledged a State of Maryland
— Department of Public Safety and Correctional Services Notice of Sexual
Offender Registration requirements form on at least 12 occasions between

February 17, 2021, and September 11, 2023.

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12. The following are some of the conditions that HAGGINS has
acknowledged and signed in completing the Sex Offender Registration documents:

a. “You must register every address and physical location where you
habitually live with your primary registration agency and in each
county where you habitually live. You must notify the designated law
enforcement unit that: you habitually live that county and provide
them with the address or physical location. If you are absent from one
ore [sic] more of the places you habitually live for 5 or more days you
must notify local law enforcement within 3 days of that change.”

b. “If you become homeless you must register once a week in person in
each county where you habitually live.”

c. “ALL RELEASES FROM ANY PERIOD OF INCARCERATION

OR ARREST and all changes in your residence, employment,

telephone numbers, internet identifiers, vehicle information must be

reported within 3 days of the change to each designated law

enforcement unit where you habitually live.”
d. “If you permanently move to a jurisdiction outside of Maryland or to a

foreign country you must, 3 days prior to the change: 1) provide the

new address, copies of passports, tickets, and travel itineraries to your

new primary registration agency; 2) register with the designated law

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enforcement agency of the new jurisdiction; and 3) comply with any
registration requirements in the new jurisdiction of residence.”

e. “If you are absent from where you habitually live for 7 or more days
due to travel for business or pleasure, you must, 21 business days
prior to leaving: 1) notify, in writing, each designated law
enforcement unit where you habitually live of your absence from the
locations where you habitually live; 2) provide the addresses and
locations of your temporary residences; and 3) provide the dates that
you will be absent from the locations where you habitually live.
Copies of travel documents may be requested by law enforcement.”

f. “If you begin or terminate employment in MD or another jurisdiction;
or begin or end enrollment at an institution of higher education you

must, 3 days prior to the change register with the designated law

enforcement agency in that jurisdiction.”

g. “Your birthdate, physical description, address, employment, vehicle,
and conviction information will be posted on the Sex Offender
Registry website.”

h. “A registrant may not knowingly fail to register, knowingly fail to
provide the written notice required under §11-705 of this subtitle or

knowingly provide false information of a material fact as required by

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this subtitle. A registrant may not knowingly fail to provide the
information required under §11-706 of this subtitle. A person who
violates these provisions for a first offense is guilty of a misdemeanor
and on conviction is subject to imprisonment not exceeding 3 years or
a fine not exceeding $5,000 or both, and for a second or subsequent
offense, is guilty of a felony and on conviction is subject to
imprisonment not exceeding 5 years or a fine not exceeding $10,000
or both.”

i. “I swear and affirm that I have read or have been read the above
requirements and have been provided a copy of this form. I further
understand that I must comply with Criminal Procedure Article §11-
701 to 11-722 as it relates to my reporting and registration
responsibilities and have been explained the penalties of violating
such laws.”

13. | Due to the COIVD-19 Pandemic, HAGGINS administratively re-
registered via phone on: February 23, 2021; April 20, 2021; April 29, 2021, along
with a change of address; May 24, 2021; and August 19, 2021.

14. On November 10, 2021, HAGGINS registered at an address of 3845

W. Forest Park Ave, Apt 9, Baltimore, MD, 21216. HAGGINS did not report any

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employment. On January 27, 2022, and April 21, 2022, HAGGINS re-registered
with no reported changes in residency or employment.

15. On June 2, 2022, HAGGINS re-registered along with a Change of
Address to 2207 Elsinore Ave, Baltimore, MD, 21216. HAGGINS did not report
any employment during this re-registration.

16. On July 11, 2022, HAGGINS re-registered with no change in
residency. HAGGINS reported being employed at Von Moving and Storge. On
October 3, 2022, HAGGINS re-registered with no reported changes in residency or
employment.

17. On October 17, 2022, Detective Raynard Johnson of the Baltimore
City Police Department added an investigative note to HAGGINS’ Offender
Watch Report which states, ““Offender's address was verified by owner of house.
Ms. Rosa Diaz advised that Offender rents a room at 2207 Elsinore Ave. Offender
advised that he and his children's mother are constantly at odds over child support
and she is constantly trying to get him in trouble or ruin his life. Offender stated
that his GF lives in PA where he sometimes visits her but he does not live there
with her. Address verification conducted.”

18. On December 27, 2022, HAGGINS re-registered with no reported
changes in residency. HAGGINS reported being employed at Chesapeake

International Trucking in Portsmouth, VA. On March 15, 2023, June 7, 2023, and

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September 11, 2023, HAGGINS re-registered with no reported changes in
residency or employment.

19. Since June 2, 2022, HAGGINS has been registered as residing at 2207
Elsinore Ave, Baltimore, MD, 21216. Between February 17, 2021, and September
11, 2023, none of HAGGINS’ sex offender registrations list any vehicles.

20. On November 17, 2023, HAGGINS was charged by the Pennsylvania
State Police—Y ork Barracks under two different dockets: 1) one involving charges
of PWID, Possession of Firearm Prohibited, Carrying loaded weapon, driving
while operating privilege suspended or revoked, following too closely, and
improper sunscreening; and 2) another case for Escape, Flight to Avoid
Apprehension/Trial/Punishment, and Evading Arrest of Detention on Foot.

21. I learned the following by reviewing the Pennsylvania State Police
Report and video footage for Incident # PA-2023-1494334, as well as in speaking
with the arresting Trooper, Eduardo Beleno. It should be noted that the information
below has been summarized, and no attempt has been made to transcribe the entire
video recordings. The quotes transcribed below were done to the best of my ability
to hear the recording.

22. On November 17, 2023, at approximately 1100hrs, Trooper Beleno
conducted a traffic stop on I-83 in York County, PA on a 2012 Honda Accord

bearing Maryland Registration: 3ET8954. Trooper Beleno observed the Honda
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Accord following the vehicle in front of it too closely. The Trooper also noted that
the windows of the vehicle were tinted to such a degree that he was unable to
identify the operator inside of the vehicle. During the traffic stop, Trooper Beleno
made contact with the operator, and sole adult occupant, of the vehicle who was
ultimately identified as Eric Clarence HAGGINS JR. There was a young child in
the back seat of the vehicle.

23. Trooper Beleno recalled that HAGGINS was utilizing the navigation
feature of his cellphone while enroute from Pennsylvania to Baltimore, MD.
Trooper Beleno also related that this was the only cellphone in HAGGINS’
possession at this time.

24. Upon contacting the operator, Trooper Beleno detected the odor of
burnt marijuana emanating from the inside of the vehicle. As he spoke to
HAGGINS, he observed him to have bloodshot eyes and his eyelids were droopy.
Trooper Beleno asked HAGGINS to perform Standardized Field Sobriety Tests
and he complied with this request. SFST's were administered to evaluate
HAGGINS's impairment. During the SFST's, Trooper Beleno observed multiple
clues of impairment. Additional tests were conducted on HAGGINS. During that
time, Trooper Beleno observed further clues of impairment, which were noted in

the police report.
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25. Trooper Beleno asked HAGGINS for consent to search his vehicle.
HAGGINS verbally consented to the search of the vehicle, but then denied consent
after Trooper Beleno advised him that he wanted to search his entire car.

26. Trooper Beleno placed HAGGINS into custody and detained him in
his cruiser.

27. Trooper Beleno retrieved HAGGINS’ cellphone from the roof of
HAGGINS’ car.

28. From the video footage, it appears that HAGGINS repeatedly tries to
converse with Trooper Beleno, but Trooper Beleno stops HAGGINS from making
any statements until he is provided his Miranda Warnings. Trooper Beleno
verbally advised HAGGINS of his Miranda Warnings, and then asks HAGGINS if
he understands his rights HAGGINS nodded his head, affirming that he
understood.

29. HAGGINS’ wife/girlfriend, Tiffany Mercedes Glover, was still on a
phone call with HAGGINS’ phone. Trooper Beleno permitted HAGGINS to speak
to Glover with HAGGINS’ phone to facilitate her picking up the minor child.
During this portion of the interaction, HAGGINS (while handcuffed behind his

back) utilized his cellphone to ‘text his mother to let her know he’s being locked

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up.

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30. HAGGINS and Trooper Beleno have a discussion about HAGGINS
providing information to law enforcement.

31. HAGGINS's girlfriend, Tiffany Mercedes Glover, arrived on scene of
the traffic stop and took custody of the child. She was driving a White Dodge
Charger bearing Pennsylvania registration: LZF-3282. This vehicle was found to
be registered to both Tiffany Glover and Eric HAGGINS at 7969 Erinvale Lane,
Seven Valleys, PA, 17360.

32. | HAGGINS also requested that Trooper Beleno give the house key to
GLOVER, indicating that HAGGINS resides with her.

33. Glover was permitted to retrieve the child’s car seat and a diaper bag
from the vehicle. Without permission, Glover then took the keys to the vehicle that
HAGGINS was driving and left the scene of the traffic stop.

34. Trooper Beleno asked HAGGINS what the password to his phone is
to facilitate a phone call to Glover. HAGGINS provides the passcode, “BLUKID”
to access the phone. Glover did not answer this phone call. HAGGINS also
provided Trooper Beleno a separate passcode in order to access a text message
application on his phone. This passcode was “08120786”.

35. HAGGINS vehicle was seized and then towed to the PSP York

barracks.

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36. Trooper Beleno transported HAGGINS to York Hospital for a blood
draw. While in route to York Hospital, Trooper Beleno and HAGGINS have
various conversations.

37. Trooper Beleno asks HAGGINS, “What kind of gun is it, that’s in
there?” HAGGINS responds, “Um, .357” and Trooper Beleno asks, ““A what?”
HAGGINS states, “A .357. He was selling it for 800. I was actually going down to
meet the guy. So I apologize about lying to you about, going down, and she was
being in front of me. She actually was rushing back down there. That’s what took
her so long.” Trooper Beleno asks, “It’s loaded?” and HAGGINS responds, “Yes.”
HAGGINS then states something inaudible about his supplier and relates that ‘..he
be getting his weed in the mail, so that’s why...”

38. Trooper Beleno also asks, “You living in Maryland, Annapolis?”
HAGGINS responds, “I live. I, I come up here to stay beside my girl. That’s where
I be staying at.” Trooper Beleno responds, “So you can get your address right there
on, uh...”” HAGGINS says, “Huh?” Trooper Beleno says, ‘She live out in, uh...”
HAGGINS says, “Yeah she lives out...” Trooper Beleno finishes his question,
“Seven Valleys?” HAGGINS responds, “Yeah.” Trooper Beleno says, “Okay.”
HAGGINS states, “So I come up here and stay up here sometimes.”

39. Trooper Beleno and HAGGINS have a conversation about

information that HAGGINS may be able to provide to PSP. Trooper Beleno also

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asks, “So you got the stuff in Maryland, and brought it up here, why?” HAGGINS
answers, “No. I didn’t get it from Maryland. The guy who live next door to me.”
Trooper Beleno asks, “In Maryland, right? Oh, in PA.” HAGGINS says, “He’s in
PA.” Trooper Beleno states, “Oh. So that’s what I’m saying, you can help us out
here in PA.” HAGGINS says, “Oh, yes, yes.”

40. Trooper Beleno and HAGGINS arrive at Wellspan York Hospital.
Following the completion of the blood draw, HAGGINS was transported to PSP
York station for an interview.

41. While in route to PSP York, Trooper Beleno and HAGGINS continue
to converse. Trooper Beleno and HAGGINS briefly discuss HAGGINS’ criminal
history. Trooper Beleno asks, “Are you allowed to carry a gun?” HAGGINS
responds, “No, I’m not.” Then HAGGINS mumbles something inaudible.

42. On November 17, 2023, at approximately 1248 hours, Trooper Beleno
and Trooper Elliot Wilker conducted a video recorded interview with HAGGINS.
Trooper Beleno again advised HAGGINS of his Miranda Rights and HAGGINS
elected to waive his Miranda Rights. HAGGINS completed and signed a
Pennsylvania State Police Rights Warning and Waiver (SP 7-0019).

43. During the interview, HAGGINS states, “What I will say is,
everything that you find on the inside, where the driver car is, I will take full

responsibility of that.” Trooper Beleno asks, “As in, like?” HAGGINS responds,
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“The, the, the drugs and the gun that I told you was in there. That is definitely
mine.” HAGGINS then described to the Troopers how the narcotics in the
passenger compartment of the car were packaged, the approximate drug amounts,
and the location of the gun.

44, Trooper Wilker says, “...alright, and you were...and, and the gun, talk
to me real quick about the gun.” HAGGINS goes on to say, “...I was supposed to
have sold it a couple days ago, but I was stuck home with my son. Um, my girl,
Tiffany, she was in Maryland with her sister. She’s supposed to be having a baby,
so she stayed at the hospital. Um, I kind of got anxious, cuz I haven’t been, you
know, in Maryland to sell none of this weed in a couple days. So, I took the
opportunity to try to sell the gun that he’s been asking me to sell, and I told him
that I would take it down to sell it today. And that’s what I was in the midst of
doing.”

45.  Wilker asks, "What kind of gun is it?" HAGGINS responds, ".357"
and Wilker asks, "Like a revolver?" HAGGINS answers, "Yes." Wilker asks,
"Okay. Is it stolen or anything that you know of?" HAGGINS responds, "That I
don't know." Wilker asks, "Loaded?" HAGGINS says, "Yes." HAGGINS goes on
to say, “And, but, he definitely has...a 9 compact that he wanted me to sell, but
wasn’t nobody trying to buy it, at the time. And he have, an assault rifle. I’m not

for sure if it’s a Heckler or not, but it definitely is a rifle.”

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46. HAGGINS provided a street name for his supplier [which was
inaudible in the video] and he believed his real name to be “Craig” or “Greg”.
During their encounter, HAGGINS informed the Troopers that the individual who
gave him the gun and narcotics to sell is his neighbor in Seven Valleys, PA.

47. Wilker asks, “What are you supposed to come back to him with?”
HAGGINS responds, “Um, he wanted...200, I think, off of the, the powder, he
wanted 200 back off of the powder.” Wilker interjects, “Okay.” HAGGINS
continues, “Um he told me to bring him, maybe six back off of the gun. He wanted
six back off of the gun...and the pills, I admit, I chew them, but I sell them for 10 a
piece. Um, as far as the weed, I mean, I just sell them for 20 dollars a bag. Wilker,
“Gotcha.” HAGGINS continues, “So whatever I made off of the, the weed, like he
said, he broke down a quarter pound, and I got half of that, the 7 grams, the gun,
and the scale. Wilker says, “Alright.” HAGGINS interjects, “So.” Wilker
continues, “*...and you were gonna go down, that was all going to Baltimore?”
HAGGINS responds, “Yes. Because, and the only reason because, um, I haven’t
really got familiar with out here. It’s kind of hard to navigate.” Wilker interjects, “I
gotcha.” But hes been trying to get me to, you know, kinda navigate out here with
him.” HAGGINS then describes the locations that his supplier has taken him along

to.

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48. Towards the end of the recorded interview, Trooper Beleno asks, “The
neighbor is here in PA, right?” and HAGGINS responds, “Yes.” When I spoke to
Trooper Beleno, he identified the individual who HAGGINS implicated as his
supplier as Craig Pringle, who also resides in the 7900 block of Erinvale Lane in
Seven Valleys, PA. Trooper Beleno knows Craig Pringle from a from a previous
drug arrest he made in July 2023.

49. HAGGINS completed and signed a Pennsylvania State Police Waiver
of Rights and Consent to Vehicle Search (SP 7-0027V) form. Trooper Beleno
searched HAGGINS’ vehicle and Cpl. Dugan assisted with the search. The
following items were seized: a Loaded Black Taurus .357 Mag revolver with 7
rounds—located in the glove compartment; (10) plastic baggies of marijuana; an
open plastic baggie of marijuana; a plastic baggie of cocaine; a plastic baggie
containing (10) various colored pills; (26) empty plastic baggies; (3) rolled tobacco
cigars; folded tin foil; Big Bambu rolling papers; Empty packaging labeled lato
pop; and a black digital scale in a box. The Device, HAGGINS’ Samsung Galaxy
A02s, matte black in color, with a shattered glass screen, and a black phone case
was also seized. All the seized items were entered under property record J06-

29816A.
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50. | Trooper Beleno reviewed HAGGINS' criminal history and confirmed
that he is a felon not to possess. He also learned that HAGGINS did not have a
concealed carry permit and is not able to obtain one due to his criminal history.

51. On November 17, 2023, at approximately 1414 hours, while
HAGGINS was handcuffed at PSP York, he pulled his hand out from the handcuff
and attempted to escape. He was successfully apprehended by PSP members
outside of the building (Incident # PA2023-1495274).

52. On November 17, 2023, HAGGINS was transported to York Central
Booking for processing and arraignment on felony and misdemeanors charges. He
was subsequently incarcerated at the York County Prison on Docket # MJ-19304-
CR-0000308-2023 and Docket # MJ-19304-CR-0000309-2023. Bail was set at
$50,000 on each case, which was posted on November 18, 2023. HAGGINS was
released from incarceration.

53. HAGGINS did not notify the Maryland Sex Offender Registry of this
arrest or incarceration, as he is required to do.

54. _ HAGGINS was due to re-register with the Baltimore Police
Department Sex Offender Registry on or before December 11, 2023. HAGGINS

failed to update his registration as required by law.

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55. On December 12, 2023, the Baltimore Police Department obtained an
arrest warrant for HAGGINS, charging him with Failure to Register as a Sex
Offender. The extradition on this warrant is In-State Pick-Up Only.

56. I contacted PSP Megan’s Law Unit to inquire if HAGGINS has ever
attempted to register as a sex offender in Pennsylvania. According to Sean
Reynolds, who is a Legal Assistant with the PSP Megan’s Law Unit, HAGGINS is
not currently registered as residing or being employed in the Commonwealth of
Pennsylvania, and they have no record of HAGGINS registering or attempting to
register in Pennsylvania.

57. HAGGINS address is 7969 Erinvale Lane, Seven Valleys, PA, 17360
on both Court Dockets (# MJ-19304-CR-0000308-2023 and # MJ-19304-CR-
0000309-2023) as well as the PSP Report.

58. During his entire encounter with the PSP, HAGGINS repeatedly
explicitly states and implies that he resides in Pennsylvania. In the referenced
portions of the interview, HAGGINS refers to being “stuck home” and he
acknowledges that he has not been in Maryland for a couple of days. He also
specifies that his girlfriend was in Maryland, indicating that they were in different
states. HAGGINS affirms that the source of the narcotics and firearm was his

neighbor in Pennsylvania.
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59. [utilized the Pennsylvania Justice Network (JNET) database on
November 29, 2023, to query Pennsylvania Labor and Industry information
associated with Eric HAGGINS?’ social security number. This search yielded 2"
Quarter 2022 employment at Wolfgang Operations LLC located at 110 Trooper Ct,
York, PA, 17403. I obtained HAGGINS employment records from this location
and learned the following. HAGGINS was employed at Wolfgang Confectioners
a/k/a Wolfgang Operations LLC located at 110 Trooper Ct, York, PA, 17403 from
April 1, 2022, to April 6, 2022. The total amount of his wages is listed as $340.00.
HAGGINS’ employment documents from this location lists his address as 8
Silverleaf Ct, Apt F, Cockeysville, MD, 21030. HAGGINS’ Employee Direct
Deposit Election Form requests that HAGGINS’ wages/salary be deposited in a
Wells Fargo Bank Account in the name of Tiffany Glover.

60. The address associated with his employment at this location is not

associated with HAGGINS’ Maryland Sex Offender registrations during this time

frame. This employment is not associated with HAGGINS’ Maryland Sex
Offender registration. HAGGINS did not register this employment in Pennsylvania
as required under SORNA.

61. It should be noted that according to Google Maps, Wolfgang
Operations LLC located at 110 Trooper Ct, York, PA, 17403 is approximately 1.2

miles from is 7969 Erinvale Lane, Seven Valleys, PA, 17360.

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62. I conducted a PennDOT records search for Tiffany Glover utilizing
JNET. The address associated with Glover’s Pennsylvania Driver’s License is
7969 Erinvale Lane, Seven Valleys, PA, 17360.

63. I conducted a search of York County Property records for the address
of 7969 Erinvale Lane, Seven Valleys, PA, 17360. The search revealed that the
property is owned by Tiffany Glover.

64. I reviewed HAGGINS’ Maryland Sex Offender Registrations and
learned that the 2012 Honda Accord bearing Maryland Registration: 3ET8954 is
not associated with HAGGINS’ sex offender registration information.

65. I conducted a query utilizing JNET of Pennsylvania Registration:
LZF-3282, which is associated with the white Dodge Charger mentioned from the
PSP arrest. According to the Pennsylvania Department of Motor Vehicle records,
HAGGINS is the co-owner and co-registrant of the 2018 Dodge Charger bearing

Pennsylvania Registration: LZF-3282. This vehicle is registered to Tiffany

Mercedes Glover and Eric Clarence HAGGINS JR at 7969 Erinvale Lane, Seven
Valleys, PA, 17360. According to the Pennsylvania Department of Transportation
(PennDOT) records, the title date is September 15, 2022. I reviewed HAGGINS’
Maryland Sex Offender Registrations and learned that this vehicle is not associated

with HAGGINS’ sex offender registration information, and neither is this address.
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66. Based on the above, I applied for a search warrant to search
HAGGINS’ cellphone (the Device) for evidence of 18 U.S.C. 2250(a) Failure to
Register, Title 18 U.S.C. § 922(a) Unlawful Transportation of Firearms, and Title
18 U.S.C. § 922(g) Possession of a Firearm by Prohibited Person. This search
warrant was approved by the Honorable United States Magistrate Judge Daryl F.

Bloom on January 30, 2024, and it is docketed at 1:24-MC-0089.

67. <A data extraction of HAGGINS’ cellphone (the Device) was
completed with assistance from the Office of the District Attorney, York County
Forensic Investigative Unit. Detective Steven Rowe completed a Forensic
Examination Report of the cellphone. Pursuant to the aforementioned search
warrant, I am in possession of a USB storage device containing the data extracted
from HAGGINS’ Samsung Galaxy A02s, bearing IMEI # 357014535818918. I
subsequently reviewed the data and the contents of the phone in accordance with

the search warrant.

68. While lawfully searching the Device for evidence of violations of 18
U.S.C. 2250(a) Failure to Register, Title 18 U.S.C. § 922(a) Unlawful
Transportation of Firearms, and Title 18 U.S.C. § 922(g) Possession of a Firearm
by Prohibited Person, I reviewed the contents of the phone and created numerous
PDF reports of images, text messages, messages, contacts, GPS locations, and

other evidence.
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69. The information contained in the Device is likely to assist in
identifying other potential co-conspirators and individuals engaged in criminal

activity who HAGGINS was communicating with regarding the sale of narcotics.
The information contained in the Device is also likely to reveal information
regarding HAGGINS’ intent to sell narcotics, and his propensity to be around and
possess firearms.

70. During the search of HAGGINS’ cellphone, I observed numerous
images and messages indicating that HAGGINS is involved in the sale and
distribution of narcotics in violation of 21 U.S.C. 841(a), and he possesses firearms
in violation of 18 U.S.C. §922(g) and 18 U.S.C. §924(c).

71. On August 1, 2023, HAGGINS and Tiffany Glover have a
conversation in which HAGGINS implicates himself as being in possession of a
stolen car “with guns and bodies on them,” he indicates that he was stranded in

Virginia, that he was involved in a shooting, and he states that he is in possession

two firearms—one of which he claims to be Glover’s.

72. The above is substantiated by a text thread from August 2, 2023,
between Craig Pringle and HAGGINS. HAGGINS tells Pringle that he is in
Virginia. Pringle says “Shaggin” which appears to be in the form of a question
based on the context of the messages. HAGGINS responds, “Nah. Nigga been

spinning. Found slim ppls in pg DC and va. I'm not letting up” and “Told nigga

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stole lil buddy out my car. I'm on his ass. Broke. Beefing with baby. She on my
ass” and “And she not understanding”. A few messages later, HAGGINS texts,
“Smh. I'm tired bruh. And baby mad enough to dip on a nigga. She think it's a bitch
but she don't understand. Nigga crossed the line. I need my shit. I told him. Give
me my shit or I'm keep spinning. He don't know me. He know my man. I told him.
Ima clean his bloodline”. Pringle responds, “Smdh Niggs is wild” and “So what ya
man say?” To which HAGGINS responds, “He booked. Got into a shoot out with
the nigga. With my shit.” Pringle says, “Smh bruh” and “U might gotta let that
sizzle some”. HAGGINS responds, “Ik bruh. I'm just so fucking madd. Nigga gotta
die”.

73. A text thread was observed in the data from August 20, 2023, between
HAGGINS and Glover. In this string of messages, HAGGINS discusses an
incident he was involved in, and he says, “‘N I need u to report the gun stolen. It's
dirty now” and “We gonna keep it but it's dirty”.

74. A message thread was viewed between HAGGINS’ Facebook
Account and Facebook user Account # 100032198839060 or username Tierra
Fulton. On September 21, 2023, HAGGINS messages Fulton, “I'll hit u when I get
in the city” and she responds, “Rd if not at work”. HAGGINS then replies, “What
time u get off. II come by if you tryna grab up”. On September 22, 2023, Fulton

messages HAGGINS, “Hey my bad wyd I was washing”. HAGGINS replies,
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“Cooling. Just got in the city. I'll be around for a couple hours so let me know if
you or anyone tryna get some skittles” and then Fulton responds, “Ok”. A search
of resources for drug slang revealed that skittles can be a term used for MDMA,
Cough Medicine, and/or Ritalin.

75. A text thread was viewed between HAGGINS and a contact saved in
his phone as “Charlie”. On September 23, 2023, HAGGINS texts Charlie and says,
“Lil bruh. Hit my phone. I got something for u”’. Charlie responds, ““Who this” and
HAGGINS replies, “Thie E bruh’. A review of the timeline revealed that a phone
call occurred between HAGGINS and Charlie lasting 50 seconds. On October 13,
2023, HAGGINS texts Charlie, “I'm back on with the soft” and Charlie responds,
“Ard bet”. HAGGINS then says, “Holla at me”. Based on training and experience,
I know “soft” to be a term used for powder cocaine.

76. A text thread was viewed between HAGGINS and a contact saved in
his phone as “Truf’. On September 23, 2023, Truf texts HAGGINS an image of
what appears to be marijuana buds. HAGGINS responds, ““What’s the number on
that” and Truf replies, “40 for 1 [new paragraph] 2 for 60”. A few hours later
HAGGINS texts Truf, “Bruh. I got some soft. And dome skittles”. Truf replies
“Fr”, HAGGINS says, “Yeah.” and “10 for 50 for you.”

77. Between October 16 and October 22, 2023, HAGGINS and Glover

have numerous conversations. During this timeframe, HAGGINS tells Glover that
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his friend “Dump” wants to take a trip to Memphis and offers for her and their son
to go with him. Glover asks HAGGINS the reason for HAGGINS going, and he
responds, “He wanna meet the big connect. | think. Or pick up some work in a
large quantity”. Glover responds, “That's more of dangerous thing. Don't think we
should be there for that .” On October 18, 2023, HAGGINS and Glover discuss
when the trip may occur and the knowledge that someone named “Angie” has
about the trip. Glover says, “Member she said to you bout look out for him”, then
HAGGINS responds, “Nah. She meant while he out here running around. Told ypu
someone shot at him”. Then on October 19, 2023, HAGGINS texts Glover, “I no u
gonna be mad but can u send me money for grass and food please. This nigga
talking paying me tomorrow. Weekly” and “Full time security. He scared shit
less”. Glover responds, “Ok so once again what about us ...? Or are we not seeing
u?” and HAGGINS says, “Yes you r baby. A lil later. I'm boyt to be sitting him at
the stash spot. I need to smoke and I wanted food. I told you today. It will be
today. I informed you yesterday I wouldn't make it. Today is different”. Based on
the above it appears that HAGGINS is conducting security for an associate of his
and a stash house. Based on training and experience I know a stash house or stash
spot to be a term used to describe a location that narcotics are stored.

78. Then on October 21, 2023, HAGGINS asks Glover, “Baby. Can I get

a couple more dollars please. I need to get my own bullet and a black hoodie”.
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Glover responds, “How much” and HAGGINS replies, “The same you just sent.
Ima go to foreman mills. Then to get bullets. But gass first”. A review of the
timeline shows that a phone call occurred between HAGGINS and Glover for 7:44.
Approximately thirty (30) minutes later, Glover sends $50 to HAGGINS through
Cash App.

79. On October 22, 2023, HAGGINS texts Glover, “Smh. That nigga
went to Memphis. Him and his son. [EMOJIS] I'm hit one of the runners. Ima start
a war.” and “No body gonna think it's me. Ima hit two of his blocks tonight. Fuck
him. And he gonna die when he come back”. Based on training and experience I
know the term runner to refer to someone who sells drugs for someone above them
within their own organization.

80. A text thread was viewed between HAGGINS and an individual who
was identified as Candice Gaines. On November 9, 2023, Gaines texts HAGGINS,
“How much for a zip of soft”. HAGGINS responds, “I don’t have a zip baby”, “I
have maybe 12gs left. Idk”, and “This shit definitely pack!!” Gaines responds,
“Ok”. Based on experience and training I know a zip of soft to be one ounce of
powder cocaine and for “gs” to be the measurement grams.

81. Additionally, during HAGGINS’ recorded interview with PSP,
HAGGINS admits that he was planning to sell the marijuana and cocaine that was

found in the vehicle he was driving. Furthermore, according to the PSP report, the
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firearm that was seized by PSP was found in the glovebox which is the same
location that the narcotics were found.

82. Based on my training, knowledge, and experience, I know that
fugitives and individuals who are actively engaged in criminal activity utilize
cellphones as a wireless telephone, GPS devices, digital cameras, and they utilize
mobile applications, and social media to communicate with others, specifically
associates and family members. The data contained on a cellphone often contain
photos of the user and family members/associates, geo-location data with dates and
times, and the content of messages often indicates one’s plans and locations.
Further, the data contained on a cellphone often indicates ownership as well as
cellphone provider and account information.

83. Based on the aforementioned factual information, I respectfully
submit that there is probable cause to believe that the Device, listed in Attachments

A to this affidavit, which is incorporated herein by reference, contains evidence

and fruits of the crime which will aid in the investigation of violations of Title 18
U.S.C. §924(c) Possession of Firearm in Furtherance of Drug Trafficking and Title
21 U.S.C. §841(a)(1) Possession with Intent to Distribute a Controlled Substance.
Therefore, this warrant seeks to search all records on the Device described in

Attachment B from March 1, 2022, that relate to these violations.
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84. Therefore, while the USMS had the lawful authority to search the
Device for violations of the crimes previously mentioned, we seek this search
warrant based on probable cause the device contains evidence of violations of 18
U.S.C. § 924(c) and 21 U.S.C. 841(a)(1).

85. The data extracted from the Device is currently with the investigative
casefile at the United States Marshals Service, 1501 N. 6th Street, Room 204,
Harrisburg, PA, 17102. In my training and experience, I know that the data
extracted from the Device has been stored in a manner in which its contents are, to
the extent material to this investigation, in substantially the same state as they were
when the Device first came into the possession of the USMS.

TECHNICAL TERMS

86. Based on my training and experience, I use the following technical
terms to convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or
cellular telephone) is a handheld wireless device used for voice and
data communication through radio signals. These telephones send
signals through networks of transmitter/receivers, enabling
communication with other wireless telephones or traditional “land
line” telephones. A wireless telephone usually contains a “call log,”

which records the telephone number, date, and time of calls made to

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and from the phone. In addition to enabling voice communications,
wireless telephones offer a broad range of capabilities. These
capabilities include: storing names and phone numbers in electronic
“address books;” sending, receiving, and storing text messages and e-
mail; taking, sending, receiving, and storing still photographs and
moving video; storing and playing back audio files; storing dates,
appointments, and other information on personal calendars; and
accessing and downloading information from the Internet. Wireless
telephones may also include global positioning system (“GPS”)
technology for determining the location of the device. Wireless
telephones typically contain programs called applications or apps,
which, like programs on a personal computer, perform different
functions and save data associated with those functions. Apps can, for
example, permit accessing the Web, sending and receiving e-mail, and
participating in Internet social networks.

b. Digital camera: A digital camera is a camera that records pictures as
digital picture files, rather than by using photographic film. Digital
cameras use a variety of fixed and removable storage media to store
their recorded images. Images can usually be retrieved by connecting

the camera to a computer or by connecting the removable storage
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medium to a separate reader. Removable storage media include
various types of flash memory cards or miniature hard drives. Most
digital cameras also include a screen for viewing the stored images.
This storage media can contain any digital data, including data
unrelated to photographs or videos.

c. Portable media player: A portable media player (or “MP3 Player” or
iPod) is a handheld digital storage device designed primarily to store
and play audio, video, or photographic files. However, a portable
media player can also store other digital data. Some portable media
players can use removable storage media. Removable storage media
include various types of flash memory cards or miniature hard drives.
This removable storage media can also store any digital data.
Depending on the model, a portable media player may have the ability
to store very large amounts of electronic data and may offer additional
features such as a calendar, contact list, clock, or games.

d. GPS: A GPS navigation device uses the Global Positioning System to
display its current location. It often contains records the locations
where it has been. Some GPS navigation devices can give a user
driving or walking directions to another location. These devices can

contain records of the addresses or locations involved in such
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navigation. The Global Positioning System (generally abbreviated
“GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each

satellite contains an extremely accurate clock. Each satellite
repeatedly transmits by radio a mathematical representation of the
current time, combined with a special sequence of numbers. These
signals are sent by radio, using specifications that are publicly
available. A GPS antenna on Earth can receive those signals. When a
GPS antenna receives signals from at least four satellites, a computer
connected to that antenna can mathematically calculate the antenna’s
latitude, longitude, and sometimes altitude with a high level of
precision.

e. PDA: A personal digital assistant, or PDA, is a handheld electronic
device used for storing data (such as names, addresses, appointments

or notes) and utilizing computer programs. Some PDAs also function

as wireless communication devices and are used to access the Internet
and send and receive e-mail. PDAs usually include a memory card or
other removable storage media for storing data and a keyboard and/or
touch screen for entering data. Removable storage media include
various types of flash memory cards or miniature hard drives. This

removable storage media can store any digital data. Most PDAs run
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computer software, giving them many of the same capabilities as
personal computers. For example, PDA users can work with word-
processing documents, spreadsheets, and presentations. PDAs may
also include global positioning system (“GPS”) technology for
determining the location of the device.

f. IP Address: An Internet Protocol address (or simply “IP address”) is a
unique numeric address used by computers on the Internet. An IP
address is a series of four numbers, each in the range 0-255, separated
by periods (e.g., 121.56.97.178). Every computer attached to the
Internet computer must be assigned an IP address so that Internet
traffic sent from and directed to that computer may be directed
properly from its source to its destination. Most Internet service
providers control a range of IP addresses. Some computers have
static—that is, long-term—IP addresses, while other computers have
dynamic—that is, frequently changed—IP addresses.

g. Internet: The Internet is a global network of computers and other
electronic devices that communicate with each other. Due to the
structure of the Internet, connections between devices on the Internet
often cross state and international borders, even when the devices

communicating with each other are in the same state.

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87. Based on my training, experience, and research, and from consulting
the manufacturer’s advertisements and product technical specifications, I know
that the Device has capabilities that allow it to serve as a wireless telephone, digital
camera, GPS navigation device, PDA, and to access the internet. In my training
and experience, examining data stored on devices of this type can uncover, among
other things, evidence that reveals or suggests who possessed or used the device

and location data.

ELECTRONIC STORAGE AND FORENSIC ANALYSIS

88. Based on my knowledge, training, and experience, I know that
electronic devices can store information for long periods of time. Similarly, things
that have been viewed via the Internet are typically stored for some period of time
on the device. This information can sometimes be recovered with forensics tools.

89. Forensic evidence. As further described in Attachment B, this

application seeks permission to locate not only electronically stored information

that might serve as direct evidence of the crimes described on the warrant, but also
forensic evidence that establishes how the Device was used, the purpose of its use,
who used it, and when. There is probable cause to believe that this forensic
electronic evidence might be on the Device because:

a. Data on the storage medium can provide evidence of a file that was

once on the storage medium but has since been deleted or edited, or of

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a deleted portion of a file (such as a paragraph that has been deleted
from a word processing file).

b. Forensic evidence on a device can also indicate who has used or
controlled the device. This “user attribution” evidence is analogous to
the search for “indicia of occupancy” while executing a search
warrant at a residence.

c. A person with appropriate familiarity with how an electronic device
works may, after examining this forensic evidence in its proper
context, be able to draw conclusions about how electronic devices
were used, the purpose of their use, who used them, and when.

d. The process of identifying the exact electronically stored information
on a storage medium that is necessary to draw an accurate conclusion
is a dynamic process. Electronic evidence is not always data that can

be merely reviewed by a review team and passed along to

investigators. Whether data stored on a computer is evidence may
depend on other information stored on the computer and the
application of knowledge about how a computer behaves. Therefore,
contextual information necessary to understand other evidence also

falls within the scope of the warrant.
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90.

¢. Further, in finding evidence of how a device was used, the purpose of

its use, who used it, and when, sometimes it is necessary to establish
that a particular thing is not present on a storage medium.

I know that when an individual uses an electronic device, the
individual’s electronic device will generally serve both as an
instrumentality for committing the crime, and also as a storage
medium for evidence of the crime. The electronic device is an
instrumentality of the crime because it is used as a means of
committing the criminal offense. The electronic device is also likely
to be a storage medium for evidence of crime. From my training and
experience, I believe that an electronic device used to commit a crime
of this type may contain: data that is evidence of how the electronic
device was used; data that was sent or received; and other records that

indicate the nature of the offense.

Nature of examination. Based on the foregoing, and consistent with

Rule 41(e)(2)(B), the warrant I am applying for would permit the examination of

the device consistent with the warrant. The examination may require authorities to

employ techniques, including but not limited to computer-assisted scans of the

entire medium, that might expose many parts of the device to human inspection in

order to determine whether it is evidence described by the warrant.

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Manner of execution. Because this warrant seeks only permission to examine a
device already in law enforcement’s possession, the execution of this warrant does
not involve the physical intrusion onto a premises. Consequently, I submit there is
reasonable cause for the Court to authorize execution of the warrant at any time in
the day or night.

CONCLUSION

I submit that this affidavit supports probable cause for a search warrant
authorizing the examination of the Device described in Attachment A to seek the

items described in Attachment B.

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ATTACHMENT A

The property to be searched is Eric HAGGINS’ Samsung Galaxy A02s,
bearing IMEI # 357014535818918 hereinafter the “Device.” The data from the
Device was previously extracted and its contents were placed on a USB drive that
is currently located at The United States Marshals Service, 1501 N. 6th Street,
Room 204, Harrisburg, PA, 17102.

This warrant authorizes the forensic examination of the Device and the data
extracted from the Device for the purpose of identifying the electronically stored

information described in Attachment B.
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ATTACHMENT B

All records and information on the Device described in Attachment A that
relate to violations of Title 18 U.S.C. §924(c) Possession of Firearm in Furtherance
of Drug Trafficking and Title 21 U.S.C. §841(a)(1) Possession with Intent to
Distribute a Controlled Substance and involve Eric Clarence HAGGINS Jr. since
March 1, 2022, including:

a. location data;

b. records of incoming and outgoing voice communications;
c. records of incoming and outgoing text messages;

d. the content of incoming and outgoing text messages;

€. voicemails;

f. images and their metadata;

g. videos and their metadata:

h. voice recordings;

i. contact lists;

J. the content of incoming and outgoing text e-mails;

k. data and emails from email applications (including Google Mail, or

Gmail, Yahoo!, and Outlook),

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|, data from third-party applications (including social media applications
like Facebook and Instagram and messaging programs like WhatsA pp
and Snapchat);

m. browser history;

n. evidence of the times the Subject Devices were used;

0. passwords, encryption keys, and other access devices that may be
necessary to access the Subject Devices;

p. any information recording HAGGINS’ schedule or travel:

q. all bank records, checks, credit card bills, account information, and
other financial records.

Evidence of user attribution showing who used or owned the Device at the
time the things described in this warrant were created, edited, or deleted, such as
logs, phonebooks, saved usernames and passwords, documents, and browsing
history;

a. records of Internet Protocol addresses used;

b. records of Internet activity, including firewall logs, caches, browser
history and cookies, “bookmarked” or “favorite” web pages, search
terms that the user entered into any Internet search engine, and records

of user-typed web addresses.

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As used above, the terms “records” and “information” include all of the
foregoing items of evidence in whatever form and by whatever means they may
have been created or stored, including any form of computer or electronic storage
(such as flash memory or other media that can store data) and any photographic
form.

With respect to the search of any of the items described above which are
stored in the form of magnetic or electronic coding on computer media or on media
capable of being read by a computer with the aid of computer-related equipment
(including CDs, DVDs, thumb drives, flash drives, hard disk drives, or removable
digital storage media, software or memory in any form), the search procedure may
include the following techniques (the following is a non-exclusive list, and the
government may use other procedures that, like those listed below, minimize the
review of information not within the list of items to be seized as set forth herein,
while permitting government examination of all the data necessary to determine
whether that data falls within the items to be seized):

a. surveying various file “directories” and the individual files they
contain (analogous to looking at the outside of a file cabinet for
markings it contains and opening a drawer believed to contain

pertinent files);

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b. “opening” or cursorily reading the first few “pages” of such files in
order to determine their precise contents;

c. “scanning” storage areas to discover and possible recover recently
deleted files;

d. “scanning” storage areas for deliberately hidden files; or

€. performing key word searches or other search and retrieval searches
through all electronic storage areas to determine whether occurrences
of language contained in such storage areas exist that are intimately
related to the subject matter of the investigation.

With respect to the search of the information provided pursuant to this
warrant, law enforcement personnel will make reasonable efforts to use methods
and procedures that will locate and expose those categories of files, documents,
communications, or other electronically stored information that are identified with
particularity in the warrant while minimizing the review of information not within
the list of items to be seized as set forth herein, to the extent reasonably
practicable. If the government identifies any seized communications that may
implicate the attorney-client privilege, law enforcement personnel will discontinue
its review and take appropriate steps to segregate all potentially privileged
information so as to protect it from substantive review. The investigative team

will take no further steps regarding any review of information so segregated absent

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further order of the court. The investigative team may continue to review any
information not segregated as potentially privileged.

The review of this electronic data may be conducted by any government
personnel assisting in the investigation, who may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts.

